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                New York State Education Department
                         Office of Special Education




New York City Department of Education
     Compliance Assurance Plan




                         May 2019


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Overview
Purpose
As of February 21, 2019, the New York City Department of Education (NYDOE) has received
7,448 due process complaints related to the provision of special education and related
services for the 2018-19 school-year. This surpasses the total number of due process
complaints filed with NYCDOE for the 2017-18 school-year (i.e., 7,144).

In addition, NYCDOE has multiple outstanding findings of noncompliance involving the
requirements to ensure proper procedural safeguards to students and parents, and the
provision of programs and services to preschool and school-age students with disabilities.
For the past 13 school years, the New York State Education Department (NYSED) has been
addressing the resolution of this noncompliance through the issuance of multiple separate
compliance assurance plans aligned to specific schools and/or Community School Districts
and meeting monthly with representatives from the NYCDOE Division of Specialized
Instruction and Student Support for the provision of technical assistance. While this
approach has led to progress in the resolution of some local school or district-specific areas
of noncompliance, it has not resulted in the systemic change necessary to sustain compliance
and/or scale-up effective approaches to ensuring compliant policies, procedures, and/or
practices in the identified areas.

When a public agency has a policy, procedure, or practice applicable to a group of children
that is inconsistent with Part B of the Individuals with Disabilities Education Act (IDEA) or
the Part B regulations that implement IDEA, this is evidence of systemic noncompliance. 1

This document provides a detailed report of NYCDOE’s provision of a free appropriate public
education (FAPE) for students with disabilities and protection of parental and student rights
and contains required actions to be taken by NYCDOE to correct noncompliance.

Background
NYSED has the responsibility under federal law to have a system of general supervision that
monitors the implementation of IDEA by local educational agencies (LEA), including
NYCDOE. The system must be accountable for enforcing the requirements of IDEA and for
ensuring continuous improvement. As identified in section 616 of IDEA, the primary focus
of federal and State monitoring activities must be on improving educational results and
functional outcomes for all students with disabilities and ensuring that states meet the
program requirements under Part B of IDEA, with emphasis on those requirements that are


1 United States Department of Education, Office of Special Education Programs: Dispute Resolution Procedures
under Part B of the Individuals with Disabilities Education Act (Part B) (Page 20)
(https://www2.ed.gov/policy/speced/guid/idea/memosdcltrs/acccombinedosersdisputeresolutionqafinalm
emo-7-23-13.pdf)

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most closely related to improving educational results for students with disabilities. IDEA
requires each state to have in place a State Performance Plan (SPP) that evaluates its efforts
to implement the requirements and purposes of Part B of IDEA and describes how the state
will improve such implementation. The SPP, submitted every six years, includes measurable
and rigorous targets for the indicators established under three monitoring priority areas [1.
FAPE in the Least Restrictive Environment (LRE); 2. Disproportionality; and 3. General
Supervision Part B, including Child Find, Effective Transition, and Effective General
Supervision].

Each state is required to make annual determinations about the performance of each public
school district based on its annual performance relating to SPP indicators [34 CFR §300.600].
These determinations must be made in consideration of information obtained through
monitoring visits, other public information made available, including any audit findings, and
whether the data submitted by the district is valid, reliable, and timely. NYSED must consider
compliance and may consider other performance indicators in relation to the state’s targets
for improvement for these indicators. Based upon this information, NYSED makes one of
four determinations for each district: meets the requirements and purposes of IDEA, needs
assistance in implementing the requirements of IDEA, needs intervention in implementing
the requirements of IDEA, or needs substantial intervention in implementing the
requirements of IDEA (34 CFR 300.603). NYSED makes its annual IDEA determinations
based on consideration of both a district’s performance outcomes and compliance status.
Additional information on the criteria used for the current IDEA determinations is available
in NYSED’s New York State Education Department 2018 Criteria for School District
Determinations under the Individuals with Disabilities Education Act (IDEA). 2

NYCDOE has been identified as not meeting the requirements of IDEA for 13 consecutive
years due to performance and/or compliance outcomes for the subgroup of students with
disabilities and was recently notified of its 2018-19 school year identification as a district
that needs intervention in implementing these requirements.3 In response to these
identifications, NYSED has worked with NYCDOE in the development of a special education
strategic action plan to support the implementation of effective school teams and
Committees on Special Education (CSE) through a focus on Access, Quality Individualized
Education Programs (IEP), Behavior, and Transition.4 Additionally, NYSED and NYCDOE
continue to collaborate to address the shortage of appropriately qualified staff to provide the
necessary bilingual special education programs and services for students with disabilities.

NYSED has also documented that parents/guardians of students with disabilities are not
being provided timely access to an impartial hearing upon the filing of a due process
complaint notice with NYCDOE. This is based upon several reasons, many of which are

2 Appendix A, New York State Education Department 2018 Criteria for School District Determinations under the
Individuals with Disabilities Education Act (IDEA).
http://www.p12.nysed.gov/specialed/spp/nysdeterminations/documents/determination-criteria-2018.pdf
3 Appendix B, Letter from Christopher Suriano, Assistant Commissioner, to Richard Carranza, Chancellor

(February 15, 2019) regarding 2018 Accountability Status under Part B of the Individuals with Disabilities
Education Act (IDEA).
4
  Appendix C, School Communities Inclusive of All Students Action Plan 2018-19.

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described in the attached report, “An External Review of the New York City Impartial Hearing
Office.”5 Under NYCDOE’s new leadership, NYSED has recently met with members of the
NYCDOE Office of School Planning and Development responsible for the operation and
management of the due process hearings to discuss and resolve challenges highlighted
within the external review. Not to be overlooked among the reasons cited in the report is
the sheer volume of due process complaints filed against NYCDOE by parents, as well as
thousands of other settlements in which NYCDOE engages with parents of students with
disabilities under their 10-Day Notice reimbursement procedure.6 New York State has more
special education due process complaints filed annually than any other state, and over 90
percent of those complaints in school year 2017-18 (94 percent) were filed in New York City.




5   Appendix D, “An External Review of the New York City Impartial Hearing Office.”
6   Appendix D page 13, footnote 33

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Section I: Provision of a Free Appropriate Public
Education to Preschool Students with Disabilities
NYCDOE fails to provide a free appropriate public education (FAPE) to students with
disabilities, aged 3 through 5 (20 U.S.C. §§1419, 1416(a)(3)(A); 34 CFR §300.101; Educ. Law
§4410; 8 NYCRR §§200.4(e)(7), 200.16(f)[6]).

New York State’s measurable and rigorous targets pursuant to its SPP, and other objective
reviews of NYCDOE data identified the following noncompliance with respect to NYCDOE’s
obligations to preschool students with disabilities:
    1. Failure to complete timely evaluations pursuant to Child Find requirements;
    2. Failure to effectively transition children from early intervention (EI) services to
       preschool special education services;
    3. Failure to provide special education services and programs as required by students’
       individualized education program (IEP); and
    4. Failure to provide special education services and programs in the LRE.

While these findings are systemic in nature, it must be noted that this does not mean that the
noncompliance affects all children’s receipt of FAPE.

Timely Evaluations
Initial Eligibility Preschool Evaluations and Early Childhood Transition

NYCDOE fails to timely evaluate children for eligibility for preschool special education
programs and services in accordance with 20 U.S.C. §1416(a)(3)(B); 8 NYCRR §200.16(c),
(e), and (f); see also Performance and/or Compliance Indicator 11 from the SPP.

NYCDOE fails to timely transition children from EI (Part C of IDEA) to preschool special
education programs and/or services (Part B of IDEA) in accordance with 20 U.S.C.
§1416(a)(3)(B); 8 NYCRR §200.16(c), (e), (f); see also Performance and/or Compliance
Indicator 12 from the SPP.

Description of Noncompliance: Initial Eligibility Preschool Evaluations

NYCDOE annually submits Special Education Verification Report data under SPP Indicator
11 regarding the timeliness of initial evaluations for preschool-age students with disabilities
to determine eligibility for special education. NYCDOE has not demonstrated significant
improvement in meeting performance targets for the percentage of children with parental
consent to evaluate, who were evaluated and whose eligibility was determined within State-
established timelines.




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               SPP I NDI CATO R 1 1 PRESCHO O L CO MPLI A NCE RAT E
                             NYCDOE         NYS Data      NYS Target
 100%
               100%                100.0%               100.0%                 100.0%

  95%


  90%

                                                        88.6%                  88.0%
  85%
               85.8%               85.2%

  80%


  75%


  70%          72.7%                                    72.5%

                                                                               68.3%
  65%                              66.9%


  60%
             2014-15             2015-16               2016-17               2017-18


Monthly data reports provided by NYCDOE from July through October 2018 indicate that an
average of approximately 1,360 open committee on preschool special education (CPSE)
cases citywide exceeded the mandated timelines set forth in SPP Indicator 11. For the 10
regional CSEs, which encompass the 32 CPSEs, four of the 10 had an average of over 100
cases per month where initial evaluations were not completed within 60 days of parental
consent (one regional CSE had an average of 391 outstanding cases per month in excess of
the 60-day timeline).

Description of Noncompliance: Early Childhood Transition

New York State Early Childhood Transition data is impacted by the number of children
continuing in EI after their third birthday. When this factor is not counted toward
noncompliance, the compliance rate for timely early childhood transition increases. While
consideration of this factor improves the NYCDOE compliance rate, NYCDOE data submitted
in the Special Education Verification Report for SPP Indicator 12 regarding effective
transition of children referred from EI (Part C) to CPSE (Part B) demonstrates that NYCDOE’s
number of records with noncompliant reasons for failure to meet applicable timelines
account for almost all such noncompliance statewide.




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             SPP Indicator 12 Data                        2014-15      2015-16      2016-17   2017-18
 NYCDOE Number of Records with
                                                                  73           63        50        123
 Noncompliant Reasons
 Number of Records with Noncompliant
                                                                  97           80        54        130
 Reasons Statewide
 NYCDOE Compliance Rate*                                     90.9%        92.3%      92.9%       85.4%
 Percent of Noncompliance Attributed to
                                                             94.8%        91.3%      92.6%       96.9%
 NYCDOE
*This calculation method includes continuation in EI in the compliance rate.

For the 10 regional CSEs, which encompass the 32 CPSEs, the following CSEs, including
impacted community school districts, have the highest rate of late eligibility determinations
and/or IEP implementation dates: CSE 7 (Community School Districts 20, 21, 31); CSE 4
(Community School Districts 24, 27, 30); CSE 8 (Community School Districts 13, 14, 15, 16);
CSE 9 (Community School Districts 1, 2, 4); and CSE 1 (Community School Districts 7, 9, 10).

As identified in meetings between NYSED and NYCDOE, failure of NYCDOE to meet SPP
Indicator 11 and/or SPP Indicator 12 performance targets from school year 2015-16 to the
present was attributed to:
    1. An insufficient number of CPSE administrators to schedule and conduct CPSE
       meetings;
    2. An insufficient number of administrative support staff to input assessment reports
       from evaluators, eligibility determinations, and IEPs into NYCDOE’s data collection
       and monitoring system - Special Education Student Information System (SESIS); and
    3. An insufficient number of available seats to accommodate mandated enrollment in
       special classes and integrated classes/programs to allow for timely IEP
       implementation.

Programs and Services in the Least Restrictive Environment
Regional Need for Preschool Special Education Programs

NYCDOE fails to provide preschool special education programs and services in accordance
with 20 U.S.C. §1419; Educ. Law §4410; 8 NYCRR §§200.4(e)(7), 200.16(f)(6).

Description of Noncompliance:

Regional need data examined jointly by NYSED and NYCDOE demonstrates that the current
demand for preschool special education programs and services significantly exceeds the
existing number of programs and providers available to appropriately serve the IEPs of
preschool students with disabilities residing in New York City. Based on the multiple
measures used to evaluate the regional need data and the high level of systemic and
continuing unresolved needs, it is determined that NYCDOE is failing to provide special
education programs and services in conformity with student IEPs as required by FAPE
standards.


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NYCDOE supplies multiple data factors to project both current and anticipated placement
needs for each of the 32 community school districts. These factors consider capacity of
existing programs, trends in the number and type of CPSE placement recommendations,
NYCDOE’s list of students “awaiting placement” and receiving “partial services,” the number
of children transitioning from EI, children transitioning to kindergarten and factors
attributed to existing placements which may indicate that alternative program options could
be utilized, and alignment with bilingual education and related service needs.

NYCDOE’s regional need list for preschool special education programs is posted on NYSED's
website.7 NYSED also electronically notifies relevant stakeholders. Developing a
comprehensive list and publicly sharing this information allows interested private providers
to identify opportunities to create new programs and informs NYCDOE’s strategic planning
for expanding preschool programs in its community school district-operated classrooms.
However, NYCDOE-operated program expansions in recent years have not consistently
aligned with the identified published regional need.

Least Restrictive Environment

NYCDOE fails to ensure that, to the maximum extent appropriate, children with disabilities,
including children in public or private institutions or other care facilities, are educated with
children who are nondisabled; and special classes (SC), separate schooling, or other removal
of children with disabilities from the regular educational environment occurs only if the
nature or severity of the disability is such that education in regular classes with the use of
supplementary aids and services cannot be achieved satisfactorily in accordance with 20
U.S.C. §1412(a)(5); 34 CFR §§300.114, 300.115; Educ. Law §4410; 8 NYCRR
§200.16(e)(3)(i); see also Performance and/or Compliance Indicator 6 from the SPP.

Description of Noncompliance: Separate Setting

NYCDOE annually reports data under SPP Indicator 6 relating to the educational setting in
which students with disabilities receive their special education and related services. This
data is calculated for SPP Indicator 6B, the percentage of children aged 3 through 5 with IEPs
who attend a separate special education class, separate school, or residential facility
(separate setting). As these percentages include students 5 years of age, Indicator 6B is
based on both preschool-age and school-age student data.

NYCDOE data for students aged 3 through 5 with IEPs attending a separate special education
class, separate school, or residential facility exceeds the State’s targets in the SPP Indicator
6B:




7
    http://www.p12.nysed.gov/specialed/publications/preschool/regional-need.html


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          SPP Indicator 6B Data: Separate Setting               2016-17    2017-18    2018-19
 New York State target for students aged 3 through 5 in a         20%        19%        18%
 separate setting                                                or less    or less    or less
 NYCDOE % students aged 3 through 5 in a separate setting        31.1%      29.5%      31.2%
 NYCDOE % preschool students only in a separate setting          45.8%      50.4%      52.3%

The number of preschool students with disabilities attending a separate setting LRE data is
at odds with the significant investments being made by the State and City to expand early
learning opportunities for preschool-aged children. Data and information reported by
NYCDOE demonstrates that not all preschool students with disabilities have the same access
to the benefits of the State-administered prekindergarten programs which are afforded to
other students residing in New York City.

           New York State Prekindergarten Final Program Report                        2017-18
 Number of preschool students who received related services only or SEIS while
                                                                                       5,247
 enrolled in NYCDOE State-administered prekindergarten programs
 Number of preschool students who received SCIS programming in a classroom
                                                                                        317
 co-located with a NYCDOE State-administered prekindergarten program

NYCDOE enrolls preschool students with disabilities in its State-administered
prekindergarten programs when its CPSE has recommended related service only or special
education itinerant services (SEIS). Although it is a longstanding practice in New York City
to enroll and fund students receiving a special class in an integrated setting (SCIS)
programming separate and apart from its State-administered prekindergarten programs,
this practice is now leading to inconsistent and limited early learning inclusion opportunities
for those preschool students with disabilities who need more than itinerant services but are
recommended to receive special education services within an early childhood program with
their typically developing peers. For example, while the historic annual enrollment for the
SCIS program in NYCDOE is approximately 4,000 students, as demonstrated above, only 317
such students were co-located in a State-administered prekindergarten classroom in 2017-
18.

Furthermore, the NYCDOE historic annual enrollment for preschool children recommended
for special class is approximately 10,000 students. As it pertains to LRE, this number
reflects the need for more comprehensive supports within the early childhood programs
administered by NYCDOE to enable the full participation and success of children with
disabilities in inclusive settings.

The number of preschool students with disabilities attending a separate setting, combined
with the limited preschool inclusion options (i.e., lack of available seats, disparity in length
of school day, and restricted school site options), contradicts NYCDOE's continued
implementation of separate program eligibility and funding structures for preschool
students with disabilities. Failure to provide increased access for preschool students with


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disabilities to participate in the early childhood programs operated by NYCDOE violates the
requirements of LRE and is not supported by the State-administered prekindergarten
program principles and objectives to benefit children of all abilities.

Required Corrective Action
Preschool Special Education

As part of this Compliance Assurance Plan, by June 3, 2019, NYCDOE must provide to NYSED
for review and approval a corrective action plan to correct its failure to provide a free
appropriate public education to preschool students with disabilities. At a minimum, the
corrective action plan must address and/or include:
    1. Root cause analysis for each noncompliance item: Child Find, Early Childhood
       Transition, Provision of Special Education Services and Programs, and LRE.
    2. Immediate action steps to address each noncompliance item which must sufficiently
       describe NYCDOE efforts, provide an implementation timeline, and include the
       measurable goals and objectives expected to be achieved.
    3. Description of how NYCDOE plans to monitor its progress of the corrective action
       plan.
    4. Identification of NYCDOE office and specific NYCDOE staff responsible for the
       implementation of each step/action item included in the corrective action plan.
    5. Process by which the corrective action plan will be adjusted and/or amended, with
       NYSED approval.
    6. The action steps to address Child Find and Early Childhood Transition noncompliance
       must include, at a minimum:
       a. An increase in the allocation of staffing resources, including additional CPSE
            administrators to schedule and conduct CPSE meetings, and additional
            administrative staff to input data into SESIS.
       b. The corrective action plan should be specific to each of the 10 regional CSEs, with
            immediate action steps identified for the community school districts with the
            highest rates of noncompliance.
       c. A trend analysis of the last two years; and going forward, the yearly case volume
            per regional CPSE, including number of cases assigned and completed by each
            administrator and the number of cases closed by each administrator.
    7. The action steps to address the Provision of Special Education Programs and Services
       in LRE must include, at a minimum:
       a. A preschool programming action plan which fully addresses the outstanding
            monolingual and bilingual programs required to ensure the full implementation
            of preschool students' IEPs within required timelines and in alignment with the
            continuum of special education services.
       b. An increase in the allocation of staff assigned to oversee strategic planning and
            development of preschool program creation and expansions as identified on the
            February 7, 2019 regional need publication, and any subsequent regional need
            publication.



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c. Plan for bi-annual reporting to NYSED staff of the following items relating to
   regional need, to be disaggregated by community school district and borough:
       i. Overall number of children residing in each community school district and
          known to be enrolled in a preschool program.
      ii. Overall number of preschool students with disabilities per community
          school district and the percentage of those students enrolled in SCIS, the
          percentage of those students enrolled in SC, and the percentage of those
          students receiving SEIS.
    iii. Number of students transitioning from EI to CPSE (children turning age 3)
          during the current school year and the prior school year and the resulting
          net increase/decrease.
     iv. Number of students transitioning from CPSE to kindergarten (children
          turning age 5) during the current school year and prior school year and the
          resulting net increase/decrease.
      v. Net change in the number of preschool students with disabilities when
          comparing Turning-3 and Turning-5 data for the current school year.
     vi. Number of SCIS classroom seats per community school district, identifying
          whether the seats are in a monolingual or bilingual program, and the
          corresponding number of students with a variance attending each program
          type for the current school year and prior school year.
    vii. Number of SC classroom seats per community school district per ratio (6, 8,
          12, other) identifying whether the seats are in a monolingual or bilingual
          program and the corresponding number of students with a variance
          attending each program type for the current school year and prior school
          year.
   viii. Number of classroom seats gained via program approval and number of
          classroom seats lost via program closures per ratio and noting whether the
          classroom seats were for monolingual or bilingual programs, from the date
          of the last regional need public posting.
     ix. Number of impending program closures and the corresponding number of
          the current student enrollment per ratio in the programs to be closed.
      x. Number of students with SEIS exceeding a frequency of 20 sessions per
          week.
     xi. Number of preschool students in classes of 8 and 12 with a 1:1 aide.
    xii. Number of students per ratio on NYCDOE’s “partial services” list, identifying
          whether monolingual or bilingual (specifying the language) programs are
          being sought.
   xiii. Number of students per ratio that NYCDOE has coded as “placement delayed
          due to lack of available seats,” identifying whether monolingual or bilingual
          (specifying the language) programs are being sought; and
   xiv. Report per borough summarizing the Chairpersons’ recommendations
          regarding the need in their specific districts for multidisciplinary evaluation
          (MDE) and SEIS, including bilingual program needs.
d. Assurances and processes to ensure that preschool students with disabilities
   receive appropriate special education programs and services while enrolled in
   NYCDOE State-administered prekindergarten programs. This must include plans


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   to incorporate SCIS program offerings within NYCDOE State-administered
   prekindergarten classrooms and eliminate any barrier to preschool students
   recommended to receive SCIS also enrolling in NYCDOE State-administered
   prekindergarten programs and receiving the full program benefits offered to all
   children.




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Section II: Provision of a Free Appropriate Public
Education (FAPE) for School-Age Students with
Disabilities
NYCDOE fails to provide a free appropriate public education to students with disabilities,
aged 5 through 21 (20 U.S.C. §1412 (a)(1); 34 CFR §300.101).

New York State’s measurable and rigorous targets pursuant to its SPP, and other objective
reviews of NYCDOE data, identified the following noncompliance with respect to NYCDOE’s
obligations to school-aged students with disabilities:
    1. Failure to timely evaluate children for eligibility for school-age special education
       programs and services;
    2. Failure to provide special education programs and services as specified on the IEPs
       of students with disabilities; and
    3. Failure to provide related services.

Timely Evaluations
NYCDOE fails to timely evaluate children for eligibility for school-age special education
programs and services in accordance with 20 U.S.C. §1416(a)(3)(B); 34 CFR §300.301; 8
NYCRR §200.4 (b); see also Performance and/or Compliance Indicator 11 from the SPP.

Description of Noncompliance:

NYCDOE annually reports data under SPP Indicator 11 regarding the timeline for initial
evaluations for school-age students with disabilities to determine eligibility for special
education. Over the last four reported years, NYCDOE has not demonstrated improvement
in meeting performance targets for the percentage of children with parental consent to
evaluate, who were evaluated and whose eligibility was determined within State-established
timelines.




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             SPP I NDI CATO R 1 1 SCHO O L AG E CO MPLI A NCE RAT E
                                 NYCDOE       NYS Data       NYS Target

 100%
               100%                  100.0%                100.0%                 100.0%
  95%

  90%

  85%

  80%          82.8%                 82.2%                  83.0%
                                                                                  81.6%

  75%
                                                                                  74.5%
  70%                                72.9%
               71.4%                                        71.6%

  65%

  60%
             2014-15                2015-16               2016-17                2017-18


             Percentage of Children with Parental Consent to Evaluate, who were Evaluated
                     and Eligibility Determined Within State Established Timelines

Monthly data reports generated for July through October 2018 show that, at any given time,
there were an average of approximately 1,132 open school-age cases that had exceeded SPP
Indicator 11 timelines. Two of the 10 regional CSEs had an average exceeding 290 cases per
month where initial evaluations were not completed within 60 days of parental consent.

Programs and Services
NYCDOE fails to provide special education programs and services as specified on the IEPs of
students with disabilities, including students who attend community schools, District 79, and
charter schools. NYCDOE fails to ensure the provision of FAPE to these students in
accordance with their IEPs [20 U.S.C. §1414(d)(2)(A), (d)(3); 34 CFR §§300.323,
300.324(a)(2); Educ. Law §§4402(2)(a), 2851(2)(s) and 2853(4); 8 NYCRR §200.4(e)(7)].

Community School Districts

NYCDOE self-reports data documenting that it fails to provide programs and services to
students attending community school districts in violation of 20 U.S.C. §§1412(a)(1), 1414
(d)(2)(A); 34 CFR §§300.101, 300.323; Educ. Law §4402 (2)(a); 8 NYCRR §200.4 (e)(7).




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Description of Noncompliance:

In November 2018, NYCDOE released its NYCDOE Local Law of 2015 Annual Report on
Special Education, School Year 2017-18 (Annual Report)8. The Annual Report indicated that:
   • 143,394, students (78.4 percent) were fully receiving their mandated IEP special
       education programs and services;
   • 34,906 students (19.1 percent) were only partially receiving their mandated IEP
       special education programs and services; and
   • 4,495 students (2.5 percent) were not receiving any of their mandated IEP special
       education programs and services.

District 79

NYCDOE requires that students attending the Pathways to Graduation program waive their
right to IEP-mandated special education services in violation of 20 U.S.C. §§1412(a)(1), 1414
(d)(2)(A); 34 CFR §§300.101, 300.323; Educ. Law §4402 (2)(a); 8 NYCRR §200.4 (e)(7).

Description of Noncompliance:

By letter dated March 14, 2013, NYSED’s Counsel instructed NYCDOE that school districts
and State agencies that provide alternative high school equivalency programs (AHSEP) and
high school equivalency programs (HSEP) are required to provide special education
programs and services to students with disabilities enrolled in such programs. Additionally,
when seeking program approval, school districts are required to assure NYSED that special
education services are being provided to students with disabilities attending these
programs.

By letter dated February 29, 2016, NYSED instructed NYCDOE to revise its policies and
procedures requiring that students waive their right to special education when enrolling in
the Pathways to Graduation (P2G) program, formerly known as GED+. NYCDOE responded
on March 17, 2016, stating that they were reviewing the matter with their general counsel.
NYCDOE reports that as of January 31, 2019, there were 1,631 students with disabilities
attending P2G programs. To date, NYCDOE continues to require that students waive their
right to special education programs and services upon enrolling in the P2G program.




8
 NYCDOE Local Law of 2015 Annual Report on Special Education, School Year 2017-18 (Annual Report)
https://drive.google.com/file/d/1FlWLINlqzdm1_Ypw6WJ_HYyBNtJJqQvr/view



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Charter Schools

NYCDOE fails to ensure that students with disabilities who attend charter schools are
receiving mandated IEP programs and services in accordance with Education Law 20 U.S.C.
§§1412(a)(1), 1414(d)(2)(A); §§34 CFR 300.101, 300.323; Educ. Law §§2851(2)(s), 2853(4)
and 4402 (2)(a); 8 NYCRR §200.4 (e)(7).

Description of Noncompliance:

Based upon the findings of multiple State complaints filed on behalf of students attending
charter schools in New York City and the corresponding compliance assurance plans, NYSED
determined that NYCDOE failed to adequately demonstrate the implementation of
administrative procedures that demonstrate the actions taken by the CSE to ensure:
   1. Students are receiving mandated IEP programs and services in charter schools;
   2. timely follow-up actions are taken upon notification that mandated IEP programs and
       services are not being provided; and
   3. Progress monitoring of students with disabilities attending charter schools is
       occurring, including convening the CSE to review, and if appropriate, reevaluate the
       student.

Failure to Provide Related Services as Required on Students’ IEPs

NYCDOE fails to provide related services to students with disabilities as recommended on
students’ IEPs in accordance with 20 U.S.C. §§1412(a)(1), 1414(d)(2)(A); 34 CFR §§300.101,
300.323; Educ. Law §4402(2)(a); 8 NYCRR §§200.2(d), 200.4(e)(7).

Description of Noncompliance:

The November 2018, NYCDOE Local Law of 2015 Annual Report on Special Education, School
Year 2017-18 (Annual Report), referenced above, indicated that:
   • 274,209 (95.7 percent) related service mandates had a matching encounter recorded
      by a provider in SESIS;
   • 10,481 (3.7 percent) related service mandates had no matching encounter recorded
      by a provider in SESIS; and
   • 1,718 (.6 percent) related service mandates had only a partially matching encounter
      recorded by a provider in SESIS.

Required Corrective Action
Provision of Services to School-Age Students with Disabilities

As part of this compliance assurance plan, by June 3, 2019, NYCDOE must provide to NYSED
for review and approval a corrective action plan to correct its failure to provide a free
appropriate public education to school-age students with disabilities. At a minimum, the
corrective action plan must address and/or include:


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1. Root cause analysis for each noncompliance item: Timely Evaluations; Provision of
   Special Education Services and Programs in community school districts, District 79,
   and charter schools.
2. Immediate action steps to address each noncompliance item which must sufficiently
   describe NYCDOE efforts, provide an implementation timeline, and include
   measurable goals and objectives expected to be achieved.
3. Description of how NYCDOE plans to monitor its progress of the corrective action
   plan.
4. Identification of NYCDOE office and specific NYCDOE staff responsible for the
   implementation of each step/action item included in the corrective action plan.
5. Process by which the corrective action plan will be adjusted and/or amended, with
   NYSED approval.
6. The action steps to address timely evaluations noncompliance must include, at a
   minimum:
   a. An increase in the allocation of staffing resources, including additional CSE
      administrators to schedule and conduct CSE meetings, and additional
      administrative staff to input data into SESIS.
   b. The corrective action plan should be specific to each of the 10 regional CSEs, with
      immediate action steps identified for the community school districts with the
      highest rates of noncompliance.
   c. A trend analysis of the last three years analyzing the yearly case volume per
      regional CSE, including number of cases assigned to each administrator and the
      number of cases closed by each administrator, broken down monthly.
7. The action steps to address the Provision of Special Education Programs and Services
   must include, at a minimum:
   a. An audit of all students with disabilities with outstanding delivery of programs
      and related service mandates and next steps to ensure the full delivery of all IEP
      programs and mandated related services within required timelines and in
      alignment with the continuum of special education services.
          i. Provide quarterly reports on the use of Related Service Authorizations
              (RSA) and submit a plan to reduce the use of RSAs.
   b. With respect to community school districts, the corrective action plan must
      include, at a minimum:
          i. Borough, community school district, and school location of all outstanding
             programs and related services with specific caseload data.
         ii. Program and related service types.
       iii. Schedule of field support center (FSC) meetings with managers of school
             psychologists and related service providers and executive and community
             school district superintendents to review and develop corrective steps in
             resolving the outstanding programs and related services.
        iv. A complete list of all schools that have unserved and/or partially served
             students which identifies each student and the IEP mandates that are either
             not being provided or only partially being provided. For each school on the
             list, a school-specific plan that identifies reasons for the unserved and/or
             partially served students, the action steps that will be taken to address any



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         failure to fully implement these IEPS, and the date of fulfillment of all IEP
         programs and related services mandates.
c. With respect to District 79, the corrective action plan must include, at a minimum:
      i. List of District 79 program locations with their outstanding programs and
         related services with specific caseload data.
     ii. Schedule of meetings with District 79 leadership and principals to review all
         special education programs and related services mandates.
    iii. Administrative procedures for obtaining IEPs of students enrolled in
         alternative schools and programs and for ensuring students with disabilities
         enrolled in alternative schools and programs have timely IEP reviews and
         receive CSE-recommended special education programs and services.
    iv. A complete list of all District 79 students who are unserved and/or partially
         served and the IEP mandates that are either not being provided or only
         partially being provided.
     v. Evidence that NYCDOE no longer requires that students waive their right to
         special education programs and services upon enrolling in the P2G program.
d. With respect to charter schools, the corrective action plan must include, at a
   minimum:
      i. Administrative procedures ensuring charter schools document the
         provision of special education programs and services and that the CSE can
         demonstrate the provision of these services;
     ii. Administrative procedures describing the actions the CSE must take,
         including timelines, to proactively ensure that the IEPs of students with
         disabilities enrolled in charter schools are implemented without delay at the
         beginning of the school year and following an initial evaluation or
         reevaluation of the educational needs of a student;
    iii. Administrative procedures, including timelines, describing the actions the
         CSE must take when notified that a charter school is unable to provide a
         special education program or service recommended in the IEP of an enrolled
         student;
    iv. Documentation of the professional learning activities provided to the staff
         responsible for the development, review, and implementation of IEPs for
         students with disabilities enrolled in charter schools;
     v. Schedule and calendar of topics of the above-referenced professional
         learning activities and assurance that a list of all participants will be
         maintained; and
    vi. Documentation provided to each charter school serving NYC resident
         students with disabilities in the jurisdiction of NYCDOE that administrative
         procedures requiring a shared responsibility with charter schools to ensure
         the implementation of mandated IEP services occurs and student progress
         is monitored.




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Section III: Affording Students with Disabilities
and Their Parents All the Rights and Procedural
Safeguards Required by Federal and State Law and
Regulations
Pursuant to its general supervisory responsibility and authority under IDEA, NYSED is
responsible for ensuring that the requirements of Part B of IDEA are followed, including
ensuring that each public agency establishes, maintains, and implements procedural
safeguards that meet the requirements of 34 CFR §§300.500 through 300.536. NYCDOE fails
to afford students with disabilities and their parents with required procedural safeguards.
Data indicates that NYCDOE receives the largest number of due process complaints filed with
an LEA in the United States. NYCDOE fails to provide parents access to adequate due process
after a complaint has been filed, fails to provide access to due process data, fails to ensure
access to mediation, and fails provide prior written notice (PWN) (20 U.S.C. §1415(a), (b)(3),
(e), (f); 34 CFR §§300.500, 300.503, 300.506, 300.511; Educ. Law §§ 4402, 4404; 8 NYCRR
§§200.5(a), (h), (j) and 200.16(h).

NYSED identified the following noncompliance with respect to NYCDOE’s obligations to
maintain a functioning due process hearing system:
   1. Fails to provide parents access to adequate due process after a complaint has been
      filed;
   2. Fails to provide access to due process data to NYSED;
   3. Fails to ensure access to mediation; and
   4. Fails to provide prior written notice.

Maintenance of a Functional Due Process Hearing System
Failure to Provide Due Process to Parents

Parents may file a due process complaint with respect to any matter relating to the
identification, evaluation, or educational placement of their child or the provision of FAPE.
Once a due process complaint is filed, an Impartial Hearing Officer (IHO) must immediately
be appointed, but not later than two business days after receipt of the complaint, and the
hearing or prehearing conference must commence within 14 days after any resolution
period, if not earlier. [20 U.S.C. §1415(a); 34 CFR §300.500 et seq.; Educ. Law §4404; 8
NYCRR §§200.5(e), (j); 200.5(j)(3), 200.5(m)].

Description of Noncompliance:

Data indicates that NYCDOE has received an increasing number of due process complaints
over recent years:



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               Total Number of NYCDOE Due Process Complaints Filed
             2015-16                                                5,026
             2016-17                                                5,779
             2017-18                                                7,144
             2018-19 (July 1, 2018 – February 22, 2019)             7,448

Significantly more due process hearings are filed in NYCDOE as compared to districts in the
rest of the State.



              Percent of Total Complaints Filed in New York City (NYC) and
                                  Rest of State (ROS)
                                                       7635 Total           7759 Total
      8000

      7000
                                     6282 Total
      6000        5464 Total

      5000

      4000                                                NYC 94%            NYC 96%
                                     NYC 92%
      3000        NYC 92%
      2000

      1000

         0         ROS 8%             ROS 8%              ROS 6%              ROS 4%
                   2015-16            2016-17             2017-18       2018-19 as of 2/22/19


NYSED has documented that NYCDOE requires a hearing or IHO determination for pendency,
even when a student's pendency is not in dispute, unnecessarily adding to the number of due
process complaints filed. In addition, NYCDOE does not defend numerous cases at hearing,
but rather admits that it did not provide FAPE and does not offer to settle these cases, adding
to the unacceptable number of due process complaints filed.i

An independent report commissioned by NYSED and attached hereto (Appendix D), has
documented that IHOs, certified by NYSED to serve in New York City, are subject to a
convoluted compensation policy, effectively paying them at a rate of $40 per hour for many
tasks, although the State-authorized maximum compensation rate is up to $100 per hour.
Part of the explanation for the reduced pay is that NYCDOE’s Impartial Hearing Office
(NYCIHO) processes and distributes IHO decisions rather than the IHOs themselves. Because
of shortages in staff at NYCIHO, however, this practice has resulted in hearing decisions being


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issued after the compliance date. Additionally, IHOs are often not paid for months at a time
because inadequate funds are allocated to the payment of IHOs.

The report further documented that:
   • NYCIHO's physical space is limited and inadequate;
   • Hearings are only held in NYCDOE's Brooklyn North FSC location and not in the other
       boroughs in New York City;
   • Hearings are not scheduled for a full day and may be limited to one hour due to
       limited space availability;
   • There are 10 hearing rooms with, on average, 122 calendared matters per day for
       those rooms;
   • There is inadequate waiting room space for parents, attorneys, and witnesses, and
       the lunch room also serves as the holding room for NYCDOE’s reassigned teachers;
   • Hearing spaces are uncomfortably hot or cold requiring doors to remain open during
       hearings, violating the confidentiality of students, there is limited access to amenities,
       and the space is unkempt.

NYCIHO utilizes an automatic IHO appointment process, whereby an IHO is granted access
to a case file before his/her availability is confirmed. Under this process, NYSED has
documented that IHOs frequently recuse themselves from cases to maintain manageable
caseloads and because of their unwillingness to handle certain hearing matters. NYCIHO had
5,634 recusals during the 2017-18 school year and already has over 7,000 for the 2018-19
school year. This practice results in a process at NYCIHO where many parents are not
receiving an appointed IHO who will maintain the case long enough to commence the hearing
process within the required timeframes.

Failure to Provide Due Process Data

NYCDOE is required to regularly provide data, as well as copies of rendered IHO decisions,
to NYSED in order for NYSED to maintain accurate due process data [8 NYCRR
200.5(j)(3)(xvi), 200.5(j)(5)].

Description of Noncompliance:

NYSED has documented that NYCIHO has failed to timely enter data to NYCIHO’s Impartial
Hearing System for download to NYSED’s data system and has failed to mail NYSED copies
of IHO decisions. Of the 1,754 decisions rendered in calendar year 2018, only 168 have been
provided to NYSED.

Failure to Ensure Access to Mediation

NYCDOE is required to ensure that mediation procedures are established and implemented
so that disputes may be resolved outside of the hearing process [20 U.S.C. §1415(e); 34 CFR
§§300.508, 300.148; 8 NYCRR §§200.5(h), 200.5 (j)].



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Description of Noncompliance:

NYCDOE’s Standard Operating Procedure Manual (SOPM) does not allow mediation of issues
pertaining to unilateral placements in non-NYSED-approved schools. Additionally,
NYCDOE’s SOPM and “Resolving Issues” webpage9 inform parents that requests for
mediation may be made directly to the Community Dispute Resolution Center or Parent
Centers; however, NYSED’s guidance and the procedural safeguards notice (PSGN) state that
requests must be made to the district or CSE (CPSE). NYCDOE is not resolving or attempting
to resolve enough matters through mediation, considering the large number of due process
complaints filed, and its policies discourage mediation.

                Total Number of NYCDOE Mediations                         Requested      Held
    2014-15                                                                 244          133
    2015-16                                                                 258          129
    2016-17                                                                 231          115
    2017-18                                                                 214          126

Prior Written Notice (PWN)
NYCDOE fails to consistently provide parents PWN on the form prescribed by the
Commissioner of Education as required by 8 NYCRR §200.5(a) and a reasonable time before
the school district proposes or refuses to initiate or change the identification, evaluation, or
educational placement of the student or the provision of FAPE to the student in accordance
with 20 U.S.C. §§1412(a)(6) and 1415(b)(3); 34 CFR §300.503; 8 NYCRR §§200.5(a) and
200.16(h)(1).

Description of Noncompliance:

As part of a monitoring review conducted during the 2017-18 school year, NYCDOE was
required to submit PWNs for a selected sample of students. Upon review, NYSED identified
the following procedural and/or substantive issues with NYCDOE's PWNs:
    1. NYCDOE failed to provide PWN to parents within a reasonable time before the school
        district proposed or refused to initiate or change the identification, evaluation,
        educational placement of students, or the provision of FAPE to students to provide
        parents a reasonable time to consider and respond to the action before it is
        implemented;
    2. NYCDOE provided parents PWN using its own templates, not the State’s mandatory
        PWN form as required by 8 NYCRR §200.5(a)(1). NYCDOE’s form failed to inform
        parents of the information they need and are entitled to have under 34 CFR §300.503
        and 8 NYCRR §200.5(a)(3).
    3. For preschool students with disabilities, through monthly meetings during the 2017-
        18 school year with CSE chairpersons and review of case studies, it was determined
        that the CPSEs within the 10 regional CSEs did not consistently utilize PWN at the


9
    https://www.schools.nyc.gov/special-education/help/resolving-issues
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      required times, consistent with the requirements of 8 NYCRR §200.16(h)(1),
      specifically:
      a. For initial evaluations, PWNs were not sent to parents in the evaluation packets.
      b. For initial evaluations, multi-disciplinary evaluation agencies/sites send emails to
         CPSEs requiring additional evaluations, and PWNs were not provided to parents
         when additional evaluations were to be conducted.
      c. For requested IEP reviews and annual reviews, CPSEs used NYCDOE’s Final Notice
         of Recommendation form in lieu of the State’s mandatory PWN form.
   4. CSE and CPSE administrators have reported insufficient professional development
      and guidance regarding the use of PWN and have reported that the State’s required
      form is not accessible in SESIS.

Required Corrective Action
As part of this compliance assurance plan, by June 3, 2019, NYCDOE must:
   1. Increase the number of staffing resources to NYCIHO.
   2. Procure additional hearing space and improve the existing hearing space in
       appearance, ventilation and amenities, including a separate area for NYCDOE
       reassigned teachers.
   3. Address how it will ensure that allocation of resources is adequate to ensure regular,
       prompt payment to IHOs.

By June 17, 2019, NYCDOE must provide to NYSED a corrective action plan to correct its
failure to provide students with disabilities and their parents all the rights and procedural
safeguards required by federal and State law and regulations. At a minimum, the corrective
action plan will address and/or include:
    1. Provide a plan to revise its IHO compensation policy, subject to NYSED approval.
    2. Immediate action steps to address each noncompliance item which must sufficiently
        describe NYCDOE efforts, provide an implementation timeline, and include
        measurable goals and objectives expected to be achieved.
    3. Description of how NYCDOE plans to monitor its progress of the corrective action
        plan.
    4. Identification of NYCDOE office and specific NYCDOE staff responsible for
        implementation of each step/action item included in the corrective action plan.
    5. Process by which the corrective action plan will be adjusted and/or amended, with
        NYSED approval.
    6. With respect to failure to maintain a functioning due process system, the corrective
        action plan must include, at a minimum, the following additional action steps:
        a. Root cause analysis of the specific reasons for due process requests, including, but
            not limited to, the volume of cases in which NYCDOE concedes its failure to
            provide FAPE and why it does not or is unable to provide FAPE, and whether those
            cases should be resolved through settlement processes, broken down by
            community school district.
        b. How it will increase the use of mediation and IEP facilitation.
        c. How it will reduce its volume of due process impartial hearing requests.


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   d. Eliminate NYCIHO’s role in processing and distributing hearing decisions for
       IHOs. IHOs will be responsible for completing, dating redacting and sending their
       own decisions.
   e. Ensure IHO availability before appointment. If within 24 hours an IHO fails to
       respond or is unreachable after reasonable efforts by NYCDOE (which must be
       documented), each successive IHO whose name appears next on the rotational
       appointment list shall be offered appointment until such appointment is accepted.
   f. Ensure uncontested pendency matters are not brought before IHOs.
   g. Ensure that staff representing NYCDOE at due process hearings are authorized to
       enter into settlement or may do so subject to approval, which approval will take
       no longer than 30 days after request for approval, which request will be made no
       later than 5 days after agreement has been reached.
7. With respect to PWN, the corrective action plan must include, at a minimum, the
   following additional action steps:
   a. Administrative procedures must be instituted to ensure that all PWNs are
       provided to parents on the State’s mandatory PWN form, including
       documentation of the directive to all CSEs, CPSEs, and Subcommittees requiring
       the use of the State’s mandatory form.
   b. Administrative procedures must be instituted to ensure that PWN is issued within
       a reasonable time before NYCDOE proposes to or refuses to initiate or change the
       identification, evaluation, educational placement of students, or the provision of
       FAPE to students.
   c. A schedule for the updates to SESIS to ensure that all generated PWNs are in
       compliance with 8 NYCRR §200.5(a); and
   d. A schedule and supporting documentation of the Inclusive Schools Learning
       Collaborative professional training activities provided to all staff responsible for
       the issuance of the prior written notices.




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Verification of Compliance
Technical Assistance and Support

NYSED will work in collaboration with NYCDOE to provide ongoing and targeted support to
assist NYCDOE in developing a plan to address the issues identified in this compliance
assurance plan and achieve the prescribed corrective actions. Support will be provided by
NYSED’s Office of Special Education leadership and staff from its Central Office and Special
Education Quality Assurance New York City Regional Office, as well as its funded technical
assistance partners to support NYCDOE in reviewing and revising policies, identifying
improvement strategies, and implementing practices necessary to ensure compliance with
IDEA requirements and improved results for students with disabilities.

Monthly Progress Status Reports

NYSED's Office of Special Education leadership will schedule progress monitoring meetings
at least monthly with NYCDOE special education leadership to review the status of corrective
action steps.

At these monthly meetings, a schedule of which is attached hereto as Appendix E, NYCDOE
must present a written status update regarding the initial drafting and/or amendment of the
corrective action plans, as well as the progress of those corrective action plans, including, at
a minimum:
    1. Immediate action steps to address each noncompliance item, which must sufficiently
       describe NYCDOE efforts, provide an implementation timeline, and include the
       measurable goals and objectives expected to be achieved.
    2. Description of how NYCDOE plans to monitor its progress of the corrective action
       plan.
    3. Identification of NYCDOE office and specific NYCDOE staff responsible for the
       implementation of each step/action item included in the corrective action plan.
    4. Documentation that demonstrates the completion of the immediate action steps
       required by June 3, 2019, as documented in the “Failure to Afford Students with
       Disabilities and Their Parents All the Rights and Procedural Safeguards Required by
       Federal and State Law and Regulations” above.
    5. Technical assistance and review of requested CAP deliverables from the previous
       month’s monitoring meeting.




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Appendices
1. Appendix A, New York State Education Department 2018 Criteria for School District
   Determinations under the Individuals with Disabilities Education Act (IDEA).
   http://www.p12.nysed.gov/specialed/spp/nysdeterminations/documents/determinat
   ion-criteria-2018.pdf
2. Appendix B, Letter from Christopher Suriano, Assistant Commissioner, to Richard
   Carranza, Chancellor (February 15, 2019) regarding 2018 Accountability Status under
   Part B of the Individuals with Disabilities Education Act (IDEA).
3. Appendix C, School Communities Inclusive of All Students Action Plan 2018-19.
4. Appendix D, “An External Review of the New York City Impartial Hearing Office.”
5. Appendix E, Compliance Assurance Plan Monthly Progress Status Report.




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Related Documents of Interest
1. State Performance Plan/Annual Performance Report, Indicator Results;
   https://data.nysed.gov/lists.php?type=district

2. Annual IDEA district determinations;
   http://www.p12.nysed.gov/specialed/spp/nysdeterminations/home.html

3. Special Education Preschool Regional Need List;
   http://www.p12.nysed.gov/specialed/publications/preschool/regional-need.html

4. NYCDOE Standard Operating Procedures Manual (SOPM);
   https://infohub.nyced.org/partners-and-providers/special-ed-partners/standard-
   operating-procedures-manual

5. Prior Written Notice Form;
   http://www.p12.nysed.gov/specialed/formsnotices/PWN/home.html

6. NYCDOE Local Law of 2015 Annual Report on Special Education, School Year 2017-18
   (Annual Report)
   https://drive.google.com/file/d/1FlWLINlqzdm1_Ypw6WJ_HYyBNtJJqQvr/view

7. United States Department of Education, Office of Special Education Programs: Dispute
   Resolution Procedures under Part B of the Individuals with Disabilities Education Act
   (Part B)
   https://www2.ed.gov/policy/speced/guid/idea/memosdcltrs/acccombinedosersdispu
   teresolutionqafinalmemo-7-23-13.pdf




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Acronyms and Abbreviations
CSE             Committee on Special Education
CPSE            Committee on Preschool Special Education
EI              Early Intervention
FAPE            Free Appropriate Public Education
FSC             Field Support Center
IHO             Impartial Hearing Officer
IDEA            Individuals with Disabilities Education Act
IEP             Individualized Education Program
ISLC            Inclusive Schools Learning Collaborative
LEA             Local Educational Agency
LRE             Least Restrictive Environment
MDE             Multidisciplinary Evaluation
NYCDOE          New York City Department of Education
NYCIHO          New York City Impartial Hearing Office
NYSED           New York State Education Department
PSGN            Procedural Safeguards Notice
PWN             Prior Written Notice
ROS             Rest of State
SC              Special Class
SCIS            Special Class in an Integrated Setting
SEIS            Special Education Itinerant Services
SESIS           Special Education Student Information System
SOPM            Standard Operating Procedures Manual
SPP             State Performance Plan



iM.M. v. New York City Dep't of Educ., 2017 WL 1194685, at *4 (S.D.N.Y. Mar. 30, 2017) (“At the April
8, 2014 hearing, both parties proposed evidence on the record ... Defendants conceded that they had
failed to provide [the student] a FAPE and did not call any witnesses.”)

L.K. v. New York City Dep't of Educ., 2016 WL 899321, at *4 (S.D.N.Y. Mar. 1, 2016), aff'd in part,
remanded in part, 674 F. App'x 100 (2d Cir. 2017) (“On March 19 and March 26, 2014, a[n] ...IHO ....
held a hearing on the Parents' Due Process Complaint. The Department conceded at the hearing that
it had not provided [the student] a FAPE for the 2013-14 school year.”) (internal citations omitted)

M.W. v. New York City Dep't of Educ., 2015 WL 5025368, at *4 (S.D.N.Y. Aug. 25, 2015) (“Defendants
concede they failed to provide [the student] with a FAPE for eleven years. This was not a deviation
from an IEP, it was a catastrophic oversight ....”)

A.R. ex rel. F.P. v. New York City Dep't of Educ., No. 12 CIV. 4493 PAC, 2013 WL 5312537, at *3 (S.D.N.Y.
Sept. 23, 2013) (“DOE concedes that it did not offer the Student a FAPE for the 2010–11 school year”)




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M.F. v. New York City Bd. of Educ., 2013 WL 2435081, at *2 (S.D.N.Y. June 4, 2013) (“Here, DOE
conceded at the impartial hearing that the placement it offered to [the student] was not appropriate
... Given DOE's concession that it did not offer [the student] a FAPE for the 2010–11 school year, the
first prong of the Burlington/Carter test is satisfied.”) (internal citations omitted)

S.H. v. New York City Dep't of Educ., 2011 WL 609885, at *5 (S.D.N.Y. Feb. 18, 2011) (“At the hearing,
DOE conceded that it had not provided [the student] with a FAPE for the 2008–09 school year”)

E. Z.-L. ex rel. R.L. v. New York City Dep't of Educ., 763 F. Supp. 2d 584, 590 (S.D.N.Y. 2011), aff'd sub
nom. R.E. v. New York City Dep't of Educ., 694 F.3d 167 (2d Cir. 2012) (“At the impartial hearing, the
DOE conceded that it failed to offer a FAPE to the child ...”)

R.B. v. New York City Dep't of Educ., 713 F. Supp. 2d 235, 241 (S.D.N.Y. 2010)
(“At the hearing, the DOE conceded that, by not offering C.Z. a placement for the 2007–2008 school
year, it had failed to provide C.Z. with a FAPE ....”)

Stevens ex rel. E.L. v. New York City Dep't of Educ., 2010 WL 1005165, at *4 (S.D.N.Y. Mar. 18, 2010)
(“At the impartial hearing, the defendant conceded that it had not provided a FAPE for the Student
for the 2007–08 school year.”)

N.R. ex rel. T.R. v. Dep't of Educ. of City Sch. Dist. of City of New York, 2009 WL 874061, at *4 (S.D.N.Y.
Mar. 31, 2009) (“At an impartial hearing requested by Plaintiff, the Department conceded its failure
to provide a free and appropriate education”)




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